     Case 4:20-cv-03919-CW        Document 577       Filed 11/27/24     Page 1 of 10



 1   Jacob K. Danziger (SBN 278219)
     ARENTFOX SCHIFF LLP
 2   44 Montgomery Street, 38th Floor
 3   San Francisco, CA 94104 United States
     Telephone: (734) 222-1516
 4   Facsimile: (415) 757-5501
     jacob.danziger@afslaw.com
 5
     Beth A. Wilkinson (pro hac vice)
 6
     Rakesh N. Kilaru (pro hac vice)
 7   Kieran Gostin (pro hac vice)
     Calanthe Arat (SBN 349086)
 8   Tamarra Matthews Johnson (pro hac vice)
     WILKINSON STEKLOFF LLP
 9   2001 M Street NW, 10th Floor
     Washington, DC 20036
10
     Telephone: (202) 847-4000
11   Facsimile: (202) 847-4005
     bwilkinson@wilkinsonstekloff.com
12   rkilaru@wilkinsonstekloff.com
     kgostin@wilkinsonstekloff.com
13   carat@wilkinsonstekloff.com
     tmatthewsjohnson@wilkinsonstekloff.com
14

15   Attorneys for Defendant
     NATIONAL COLLEGIATE ATHLETIC ASSOCIATION
16
     [Additional Counsel Listed on Signature Page]
17
                               UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19                                  OAKLAND DIVISION

20

21   IN RE COLLEGE ATHLETE NIL                       Case No. 4:20-cv-03919-CW
     LITIGATION
22                                                   DEFENDANTS’ OPPOSITION TO THE
                                                     STATE OF SOUTH DAKOTA’S MOTION
23                                                   TO COMPEL

24                                                   Trial Date:
                                                     Judge: Hon. Claudia Wilken
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                                                           Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                           Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW         Document 577         Filed 11/27/24      Page 2 of 10



 1          Defendants do not believe there is any merit to South Dakota’s objection to Defendants’
 2   Notice pursuant to the Class Action Fairness Act (CAFA), particularly given South Dakota’s
 3   failure to comply with this Court’s rules prior to filing its Motion, and the fact that the State of
 4   South Dakota stands alone in raising an issue. But the objection is in any event now moot. On
 5   November 25, 2024, the NCAA provided South Dakota with “a reasonable estimate of the number
 6   of class members residing in [South Dakota] and the estimated proportionate share of the claims
 7   of such members to the entire settlement.” 28 U.S.C. § 1715(b)(7)(B). The law requires nothing
 8   more. Accordingly, the State of South Dakota’s “Motion to Compel 28 U.S.C. § 1715 Notice,”
 9   ECF No. 557, should be denied.
10                                           BACKGROUND
11          Some context is necessary because the motion before the Court is part of a broader
12   litigation campaign. As the Court knows, the settlement of In re College Athlete NIL
13   Litigation involves student-athletes at schools throughout NCAA Division I. Two of those schools,
14   the University of South Dakota and South Dakota State, are located in the State of South
15   Dakota. Days after the preliminary approval hearing in this case, the Attorney General of South
16   Dakota filed a separate lawsuit in the Brookings County, South Dakota Circuit Court, collaterally
17   challenging the settlement agreement submitted to this Court. The lawsuit seeks to enjoin the
18   NCAA from making any disbursements of damages contemplated by the settlement agreement,
19   originally on the theories that the damages settlement imposes disproportionate financial burdens
20   on South Dakota universities and also unfairly discriminates against female student-
21   athletes. See Kilaru Ex. 1 (Original Complaint, South Dakota v. NCAA, No. 05:24-CV-320 (S.D.
22   Cir. Ct. Sept. 10, 2024). The NCAA removed the case to federal court, because it seeks to interfere
23   with this federal court’s approval of a federal settlement of federal law claims. See Notice of
24   Removal, South Dakota v. NCAA, No. 4:24-CV-4189-KES (D.S.D. Oct. 9, 2024), ECF No. 1; see
25   also Def.’s Brief Opposing Plfs.’ Mot. to Remand, South Dakota v. NCAA, No. 4:24-CV-4189-
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                                                     -1-
                                                               Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                               Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW          Document 577        Filed 11/27/24       Page 3 of 10



 1   KES (D.S.D. 2024 Nov. 5, 2024), ECF No. 9. South Dakota has moved to remand, and the motion
 2   is ripe for decision by the U.S. District Court for the District of South Dakota.
 3          Over a month after filing that separate lawsuit, and over five months before the final
 4   approval hearing in this case, the South Dakota Attorney General also sent a separate letter to the
 5   NCAA complaining about the settlement notice provided under CAFA, 28 U.S.C. § 1715. See
 6   ECF No. 557-1. CAFA requires that within ten days of filing a proposed class action settlement in
 7   federal court, the defendants must serve notice upon certain state officials and the U.S. Attorney
 8   General providing certain information about the settlement. 28 U.S.C. § 1715(b). As relevant here,
 9   CAFA requires that the notice provide “if feasible, the names of class members who reside in each
10   State and the estimated proportionate share of the claims of such members to the entire settlement
11   to that State’s appropriate State official.” Id. § 1715(b)(7)(A). If “the provision of information
12   under subparagraph (A) is not feasible,” defendants can instead provide “a reasonable estimate of
13   the number of class members residing in each State and the estimated proportionate share of the
14   claims of such members to the entire settlement.” Id. § 1715(b)(7)(B).
15          Because the settlement administration process is underway—but not complete—
16   Defendants’ CAFA notice provided as follows with respect to this requirement:
17          The names and residences of all of the class members will not be known until after
            notice of the settlement is given and potential class members submit a Proof of
18          Claim and Release. Accordingly, it is not feasible at this time to provide a list of
            class members by state of residence, a reasonable estimate of the number of class
19          members residing in each state, or a reasonable estimate of the proportionate share
20          of claims of class members residing in each state to the entire settlement. We
            respectfully refer any further inquiries regarding the potential class members to
21          Verita Global, LLC (the “Settlement Administrator”), which is working to collect
            information regarding potential class members in order to provide such members
22          with notice of the Stipulation of Settlement.
23   Kilaru Ex. 2 (Original CAFA Notice). As the Court knows, the schedule it approved provides that
24   the claims period will run until January 31, 2025, which is the same date as the exclusion and
25   objection deadline. ECF 544, at 9. For that reason, it will not be “feasible” to provide the
26   information described in 28 U.S.C. § 1715(b)(7)(A) until that date. It is likewise difficult to
27   provide precise information about “the number of class members residing in each State,” 28 U.S.C.
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                                                      -2-
                                                                Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                                Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW          Document 577         Filed 11/27/24       Page 4 of 10



 1   § 1715(b)(7)(B), prior to knowing who wishes to remain in the class. Despite these practical
 2   obstacles inherent in the Court-ordered schedule for settlement approval, South Dakota
 3   nevertheless claimed that Defendants’ notice was deficient pursuant to 28 U.S.C. § 1715(b)(7) and
 4   that final approval, set to occur more than five months later, would be improper unless and until
 5 South Dakota received additional information. See ECF 557-1, at 2–3. Less than a month later,

 6 and without ever even attempting to meet and confer with any Defendant, South Dakota filed this

 7 motion.

 8          Contrary to South Dakota’s claim that its letter went ignored, the NCAA set about
 9 diligently preparing a response, including by attempting to collect information responsive to South

10 Dakota’s request. On November 25, 2024, the NCAA sent a responsive letter to the South Dakota

11 Attorney General providing the number of student-athletes at South Dakota Division I schools as

12 compared to the total number of Division I athletes as a whole for each year of the House damages

13 settlement period (2016–2025). See Kilaru Ex. 3 (11/25/2024 NCAA Response Letter).

14                                              ARGUMENT
15          South Dakota’s motion is not well taken, for three independent reasons. First, the issues
16   presented by the motion are now moot, if any live controversy was properly before the Court in
17   the first place. The NCAA’s supplemental letter to South Dakota provides “a reasonable estimate
18   of the number of class members residing in each State and the estimated proportionate share of the
19   claims of such members to the entire settlement.” 28 U.S.C. § 1715(b)(7)(B). The damages claims
20   being resolved are brought on behalf of classes encompassing all Division I student-athletes
21   between 2016 and 2025. Providing information about (1) the number of Division I student-athletes
22   competing at schools in South Dakota in each of those years, and (2) the total number of Division
23   I student-athletes in each of those years, see Kilaru Ex. 3, easily satisfies the “reasonable estimate”
24   track set forth in § 1715(b)(7)(B).
25          Courts have rejected CAFA objections where even less detailed information was
26   provided. See, e.g., In re Packaged Ice Antitrust Litig., No. 17-CV-2137, 2018 WL 4520931, at *7
27   (6th Cir. May 24, 2018) (notice provided each state’s percentage share of total sales involving the
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                                                       -3-
                                                                 Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                                 Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW          Document 577        Filed 11/27/24       Page 5 of 10



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     defendant); Wright v. Devon Energy Prod. Co., L.P., No. 22-CV-213, 2024 WL 3742725, at *4
 2
     (D. Wyo. Aug. 9, 2024) (notice provided “a reasonable estimate of the number of Class Members
 3
     residing in each state and the value of the Gross Settlement Fund”); see also In re Uponor, Inc.,
 4
     F1807 Plumbing Fittings Prods. Liab. Litig., 716 F.3d 1057, 1064–65 (8th Cir. 2013)
 5
     (“technicalit[ies]” with CAFA compliance are immaterial where defendants make a meaningful
 6
     effort to comply). And while Defendants do not believe it is necessary in light of their indisputable
 7
     compliance with § 1715(b)(7)(B), the claims administrator will also be able to provide further
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     information about class members as soon as such information is available, i.e., shortly after the
 9
     January 31, 2025 opt-out/objection deadline.
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            Second, South Dakota’s complaints under CAFA lack merit. As an initial matter, CAFA
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     does not provide attorneys general with any rights of action or authorize motions to compel. To
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     the extent CAFA gives rights to anyone, it is to class members, based on whether the information
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     required by the statute is provided or not. See 28 U.S.C. § 1715(e) (listing consequences of
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     noncompliance, all of which relate to class members, and none of which give attorneys general the
15
     right to object). CAFA does not provide a vehicle for attempting to obtain discovery to support a
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     collateral attack on the settlement being noticed. Indeed, it is notable that South Dakota lodged its
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     request for information about the number of student-athletes in South Dakota only after filing a
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     separate lawsuit claiming the damages component of the settlement disproportionately impacts
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     South Dakota schools.
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            Moreover, Defendants’ notice was consistent with common practice under CAFA.
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     Defendants sent substantively identical notices to every other federal and state attorney general,
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     yet no other attorney general besides the one already suing to enjoin the settlement has voiced any
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     complaints about the notice. Nor is this notice an outlier: Defendants’ counsel have personally
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     submitted similar letters containing similar language regarding § 1715(b)(7)—including to South
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     Dakota—without any objections being raised. See, e.g., Kilaru Ex. 4 (five prior examples of similar
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     CAFA notices).
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                                                      -4-
                                                                Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                                Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW          Document 577         Filed 11/27/24      Page 6 of 10



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            Third, the motion is procedurally improper under this Court’s Rules. Local Rule 37-1(a)
 2
     provides that “[t]he Court will not entertain a request or a motion to resolve a disclosure or
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     discovery dispute unless, pursuant to Fed. R. Civ. P. 37, counsel have previously conferred for the
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     purpose of attempting to resolve all disputed issues.” “Conferring” requires communicating
 5
     directly “either in a face to face meeting or in a telephone conversation”; “[t]he mere sending of a
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     written, electronic, or voice-mail communication . . . does not satisfy a requirement to ‘meet and
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     confer’ or to ‘confer.’” L.R. 1-5(n). South Dakota did not even attempt to satisfy this requirement
 8
     prior to filing its Motion to Compel. It merely sent a letter and then, less than a month later, filed
 9
     its Motion to Compel.
10
            The subsequent developments underscore the benefits of meeting and conferring prior to
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     burdening this Court with motions practice. Had South Dakota attempted to confer with the NCAA
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     prior to filing its Motion, it would have learned that the NCAA was working to prepare a letter
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     addressing South Dakota’s concerns, regardless of their legal validity. To avoid such outcomes,
14
     courts regularly deny motions to compel for failure to comply with the meet-and-confer
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     requirement laid out in the Local Rules. See, e.g., Recology, Inc. v. Berkley Reg’l Ins. Co., No. 20-
16
     CV-1150-PJH, 2021 WL 1907819, at *2–3 (N.D. Cal. May 12, 2021) (denying motions to compel
17
     as “premature” due to failure to comply with meet-and-confer requirements); Roby v. Stewart, No.
18
     08-CV-1113-CW, 2013 WL 1636375, at *2 (N.D. Cal. Apr. 16, 2013) (Wilken, J.) (same). This
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     Court should do the same here.
20
                                               CONCLUSION
21
            South Dakota’s Motion to Compel should be denied.
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                                                                Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                                Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW        Document 577     Filed 11/27/24     Page 7 of 10



 1    Dated: November 27, 2024                          Respectfully Submitted,
 2    By: /s/ Rakesh N. Kilaru                         By: /s/ Whitty Somvichian
      Rakesh N. Kilaru (pro hac vice)                  Whitty Somvichian (SBN 194463)
 3
      Beth A. Wilkinson (pro hac vice)                 Kathleen R. Hartnett (SBN 314267)
 4    Kieran Gostin (pro hac vice)                     Ashley Kemper Corkery (SBN 301380)
      Calanthe Arat (SBN 349086)                       COOLEY LLP
 5    Tamarra Matthews Johnson (pro hac vice)          3 Embarcadero Center, 20th Floor
      Matthew R. Skanchy (pro hac vice)                San Francisco, California 94111-4004
 6    WILKINSON STEKLOFF LLP                           Telephone: (415) 693-2000
 7    2001 M Street NW, 10th Floor                     Facsimile: (415) 693-2222
      Washington, DC 20036                             wsomvichian@cooley.com
 8    Telephone: (202) 847-4000                        khartnett@cooley.com
      Facsimile: (202) 847-4005                        acorkery@cooley.com
 9    rkilaru@wilkinsonstekloff.com
      bwilkinson@wilkinsonstekloff.com                 Mark Lambert (SBN 197410)
10    kgostin@wilkinsonstekloff.com                    3175 Hanover Street
11    carat@wilkinsonstekloff.com                      Palo Alto, CA 94304-1130
      tmatthewsjohnson@wilkinsonstekloff.com           Telephone: (650) 843-5000
12    mskanchy@wilkinsonstekloff.com                   Facsimile: (650) 849-7400
                                                       mlambert@cooley.com
13    Jacob K. Danziger (SBN 278219)
      ARENTFOX SCHIFF LLP                              Dee Bansal (pro hac vice)
14    44 Montgomery Street, 38th Floor                 1299 Pennsylvania Ave. NW, Suite 700
15    San Francisco, CA 94104                          Washington, DC 20004-2400
      Telephone: (734) 222-1516                        Telephone: (202) 842 7800
16    Facsimile: (415) 757-5501                        Facsimile: (202) 842 7899
      jacob.danziger@afslaw.com                        dbansal@cooley.com
17
      Attorneys for Defendant                           Attorneys for Defendant
18    NATIONAL COLLEGIATE ATHLETIC                      PAC-12 CONFERENCE
      ASSOCIATION
19

20

21

22

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24

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                                                         Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                         Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW        Document 577     Filed 11/27/24     Page 8 of 10



 1                                                      By: /s/ Natali Wyson
      By: /s/ Britt M. Miller                           Natali Wyson (pro hac vice)
 2    Britt M. Miller (pro hac vice)                    Angela C. Zambrano (pro hac vice)
 3    Daniel T. Fenske (pro hac vice)                   Chelsea A. Priest (pro hac vice)
      MAYER BROWN LLP                                   SIDLEY AUSTIN LLP
 4    71 South Wacker Drive                             2021 McKinney Avenue, Suite 2000
      Chicago, IL 60606                                 Dallas, TX 75201
 5    Telephone: (312) 782-0600                         Telephone: (214) 969-3529
      Facsimile: (312) 701-7711                         Facsimile: (214) 969-3558
 6
      bmiller@mayerbrown.com                            nwyson@sidley.com
 7    dfenske@mayerbrown.com                            angela.zambrano@sidley.com
                                                        cpriest@sidley.com
 8    Christopher J. Kelly (SBN 276312)
      Two Palo Alto Square, Suite 300                   David L. Anderson (SBN 149604)
 9    3000 El Camino Real                               555 California Street, Suite 2000
      Palo Alto, CA 94306                               San Francisco, CA 94104
10
      Telephone: (650) 331-2000                         Telephone: (415) 772-1200
11    Facsimile: (650) 331-2060                         Facsimile: (415) 772-7412
      cjkelly@mayerbrown.com                            dlanderson@sidley.com
12
      Attorneys for Defendant                          Attorneys for Defendant
13    THE BIG TEN CONFERENCE, INC.                     THE BIG 12 CONFERENCE, INC.
14

15

16

17

18

19

20

21

22

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                                                         Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                         Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW        Document 577     Filed 11/27/24     Page 9 of 10



 1
      By: /s/ Robert W. Fuller, III                     By: /s/ Christopher S. Yates
 2    Robert W. Fuller, III (pro hac vice)              Christopher S. Yates (SBN 161273)
 3    Lawrence C. Moore, III (pro hac vice)             Aaron T. Chiu (SBN 287788)
      Amanda P. Nitto (pro hac vice)                    LATHAM & WATKINS LLP
 4    Travis S. Hinman (pro hac vice)                   505 Montgomery Street, Suite 2000
      Patrick H. Hill (pro hac vice)                    San Francisco, CA 94111
 5    ROBINSON, BRADSHAW & HINSON,                      Telephone: (415) 391-0600
      P.A.                                              Facsimile: (415) 395-8095
 6
      101 N. Tryon St., Suite 1900                      chris.yates@lw.com
 7    Charlotte, NC 28246                               aaron.chiu@lw.com
      Telephone: (704) 377-2536
 8    Facsimile: (704) 378-4000                         Anna M. Rathbun (SBN 273787)
      rfuller@robinsonbradshaw.com                      555 Eleventh Street, NW, Suite 1000
 9    lmoore@robinsonbradshaw.com                       Washington, DC 20004
      anitto@robinsonbradshaw.com                       Telephone: (202) 637-1061
10
      thinman@robinsonbradshaw.com                      Facsimile: (202) 637-2201
11    phill@robinsonbradshaw.com                        anna.rathbun@lw.com

12    Mark J. Seifert (SBN 217054)
      SEIFERT ZUROMSKI LLP                             By: /s/ D. Erik Albright
13    One Market Street, 36th Floor                    D. Erik Albright (pro hac vice)
      San Francisco, California 941105                 Jonathan P. Heyl (pro hac vice)
14
      Telephone: (415) 999-0901                        Gregory G. Holland (pro hac vice)
15    Facsimile: (415) 901-1123                        FOX ROTHSCHILD LLP
      mseifert@szllp.com                               230 North Elm Street, Suite 1200
16                                                     Greensboro, NC 27401
      Attorneys for Defendant                          Telephone: (336) 378-5368
17    SOUTHEASTERN CONFERENCE                          Facsimile: (336) 378-5400
18                                                     ealbright@foxrothschild.com
                                                       jheyl@foxrothschild.com
19                                                     gholland@foxrothschild.com

20                                                     Attorneys for Defendant
                                                       THE ATLANTIC COAST
21                                                     CONFERENCE
22

23

24

25

26

27

28
                                                 -8-
                                                         Defendants’ Opposition to the State of South
      Case No. 4:20-CV-03919-CW                                         Dakota’s Motion to Compel
     Case 4:20-cv-03919-CW             Document 577    Filed 11/27/24          Page 10 of 10



 1                                     SIGNATURE CERTIFICATION
 2           I, Rakesh N. Kilaru, am the CM/ECF user whose ID and password are being used to file
 3    this Opposition to the State of South Dakota’s Motion to Compel. In compliance with Local Rule
 4    5-1(i)(3), I hereby attest that concurrence in the filing of this document has been obtained from
 5    each of the other signatories.
 6
      Dated: November 27, 2024                              Respectfully submitted,
 7

 8                                                          By:   /s/ Rakesh N. Kilaru
                                                                  Rakesh N. Kilaru
 9
                                                                  Attorney for Defendant
10
                                                                  National Collegiate Athletic Association
11

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14

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                                                                   Defendants’ Opposition to the State of South
       Case No. 4:20-CV-03919-CW                                                  Dakota’s Motion to Compel
